                                        Case 3:21-cv-06118-JD            Document 136       Filed 12/15/23      Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                   UNITED STATES DISTRICT COURT

                                   7                                  NORTHERN DISTRICT OF CALIFORNIA

                                   8

                                   9     DANIEL VALENTI, et al.,                            Case No. 21-cv-06118-JD
                                                        Plaintiffs,
                                  10
                                                                                            ORDER APPOINTING NEW LEAD
                                                 v.                                         COUNSEL, AND SETTING DEADLINE
                                  11
                                                                                            FOR AMENDED COMPLAINT
                                  12     DFINITY USA RESEARCH LLC, et al.,
Northern District of California
 United States District Court




                                                        Defendants.
                                  13

                                  14          Lead plaintiff Henry Rodriguez has requested that the law firm of Selendy Gay Elsberg

                                  15   PLLC (Selendy Gay) be appointed as the new lead counsel in this securities putative class action.

                                  16   Dkt. Nos. 134, 135. The request is approved. Pursuant to Section 27(a)(3)(B)(v) of the Securities

                                  17   Act, 15 U.S.C. § 77z-1(a)(3)(B)(v), Section 21D(a)(3)(B)(v) of the Exchange Act, 15 U.S.C.

                                  18   §78u-4(a)(3)(B)(v), and Rule 23(g) of the Federal Rules of Civil Procedure, Selendy Gay will

                                  19   serve as lead counsel for the putative class in this action going forward.

                                  20          In light of the new appointment, Rodriguez is directed to file a further amended complaint

                                  21   by January 29, 2024. Pursuant to the PSLRA and the Federal Rules of Civil Procedure -- as well

                                  22   as for the sake of clarity and efficient case management -- the amended complaint must set out any

                                  23   securities fraud allegations in chart form, using the following headings on a numbered, statement-

                                  24   by-statement basis: (1) the speaker(s), date(s) and medium; (2) the false and misleading

                                  25   statements; (3) the reasons why the statements were false and misleading when made; and (4) the

                                  26   facts giving rise to a strong inference of scienter. The chart may be attached to or contained in the

                                  27   complaint, and will be deemed to be a part of the complaint.

                                  28
                                        Case 3:21-cv-06118-JD         Document 136         Filed 12/15/23    Page 2 of 2




                                   1          The parties are directed to meet and confer on a schedule for defendants’ response to the

                                   2   amended complaint, and a briefing schedule for any motion to dismiss.

                                   3          IT IS SO ORDERED.

                                   4   Dated: December 15, 2023

                                   5

                                   6
                                                                                                  JAMES DONATO
                                   7                                                              United States District Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                       2
